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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.:

 GUSTAVO ARAUJO,

                Plaintiff,

 v.

 TRUEACCORD CORP.,

                Defendant.

 _________________________________________/

                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT on this date, Defendant TrueAccord Corp., by and

 through its undersigned counsel, hereby removes the above-captioned matter to the United States

 District Court for the Southern District of Florida, Ft. Lauderdale Division, from the County Court

 of the Seventeenth Judicial Circuit in and for Broward County, Florida and in support thereof avers

 as follows:

        1.      Defendant TrueAccord Corp. is a defendant in a civil action originally filed on or

 about April 16, 2021, in the County Court of the Seventeenth Judicial Circuit, in and for Broward

 County, Florida, titled Gustavo Araujo v. TrueAccord Corp. and docketed to Case No. COCE-21-

 020153.

        2.      This removal is timely under 28 U.S.C. § 1446(b) as Plaintiff filed and served his

 First Amended Complaint upon Defendant on July 22, 2021.

        3.      Pursuant to 28 U.S.C. § 1446, attached hereto are copies of all process, pleadings

 and orders received by Defendant in the state court action.




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        5.      The United States District Court for the Southern District of Florida, Ft. Lauderdale

 Division, has original jurisdiction over this action pursuant to 28 U.S.C. § 1331, in that Plaintiff’s

 First Amended Complaint alleges claims against Defendant alleging violations of the Fair Debt

 Collection Practices Act, 15 U.S.C. § 1692, et seq.

        6.      On this date, Defendant provided notice of this Removal to counsel for Plaintiff

 and to the County Court of the Seventeenth Judicial Circuit in and for Broward County, Florida.

        WHEREFORE, Defendant respectfully removes this case to the United States District

 Court for the Southern District of Florida.

                                        MESSER STRICKLER, LTD.


                                By:     /s/ John M. Marees, II
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                                        Counsel for Defendant

 Dated: July 26, 2021




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                                CERTIFICATE OF SERVICE

        I certify that on July 26, 2021, a true copy of the foregoing document was served as

 follows:

  Via Email and U.S. Mail Postage Prepaid:
  Jibrael S. Hindi, Esq.
  Thomas J. Patti, Esq.
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                                      Counsel for Defendant

 Dated: July 26, 2021




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